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                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Richard D. Olasz III, also referred to hereafter as “Affiant,” being first duly sworn

according to law, hereby depose and state:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I am a Special Agent with the Federal Bureau of Investigation. I have been

employed by the Federal Bureau of Investigation (“FBI”) since December 2021. I am currently

assigned to the FBI Cleveland Division’s Complex Financial Crimes Squad, where my duties

include investigating violations of Federal law, including but not limited to bank fraud, securities

fraud, corporate fraud, mail fraud, wire fraud, and money laundering. As part of my job, I have

conducted and assisted with investigations involving computers, cell phones, and other related

electronic storage devices used to commit and/or further criminal activity, and the execution of

search warrants on those devices, to search and seize digital evidence.

       2.      I am submitting this affidavit in support of an Application for an Arrest Warrant

pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 3052, authorizing the arrest

of DHAVALKUMAR PATEL, Date of Birth October 4, 1992.

       3.      Affiant is fully familiar with the facts of the case either as the result of direct

personal participation in the investigation or from verbal or written reports provided to me by

law enforcement officers who have participated in the investigation. In that regard, unless

otherwise noted, wherever in this affidavit Affiant asserts that a statement was made, the

information was provided to me by a law enforcement officer, or a witness who may have had

either direct or hearsay knowledge of that statement and to whom Affiant or others have spoken

or whose reports your Affiant has read and reviewed. Such statements are set forth in this

affidavit in substance or in pertinent part unless otherwise indicated. Furthermore, since this
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affidavit is being submitted for the limited purpose of securing an Arrest Warrant, I have not

included the details of every aspect of the investigation.

       4.       Based upon the investigation to date, I assert probable cause exists to believe that

on or about February 13, 2025, in the Northern District of Ohio, DHAVALKUMAR PATEL did

commit a violation of 18 U.S.C. §§ 1343 (Wire Fraud) and 1952(a)(1) (Travel Act).

                                       PROBABLE CAUSE

       5.       N.L. identified going forward as VICTIM-1 is an 82-year-old resident of North

Canton, Ohio.

       6.       On or about Saturday, February 8, 2025, the Jackson Township Police Department

received a report of fraudulent activity involving VICTIM-1. According to the reporting party,

VICTIM-1, fell victim to a scam beginning on or about January 29, 2025. VICTIM-1 lost a total

of approximately $68,000 as of February 10, 2025. Jackson Township Police Department

contacted your affiant on Monday, February 10, 2025.

       7.       On or about January 29, 2025, VICTIM-1 received a phone call from an unknown

male caller identifying themselves as ALVARO BEDOYA from the Federal Trade Commission.

BEDOYA told VICTIM-1 that their ID and driver’s license was involved in a chase in Texas,

involving illegal arms, child pornography and money laundering. BEDOYA stated that the Texas

incident would create notoriety for VICTIM-1 and also potentially expose VICTIM-1 to legal

and other consequences. BEDOYA then gave VICTIM-1 two options, either spend

approximately $50,000 on an attorney to deal with the Texas investigation or alternatively to

cooperate with BEDOYA to resolve the investigation.

       8.       VICTIM-1 began to gather money from their home and banks and was initially

able to gather approximately $38,000. BEDOYA instructed VICTIM-1 to drive to a Bitcoin ATM



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in Kenmore, Ohio, to deposit the money into the Bitcoin ATM. VICTIM-1 deposited

approximately $10,000 and then stopped. BEDOYA called VICTIM-1 and convinced VICTIM-1

to continue until all $38,000 was deposited into the Bitcoin ATM. VICTIM-1 returned home after

the completion of the Bitcoin deposit.

       9.      On or about January 30, 2025, a second unknown individual contacted VICTIM-1

by phone identifying themselves as ALEC ROGERS. ROGERS originally identified himself as

an Agent and then later identified himself as working as Apple Support in connection with the

Texas incident first mentioned by BEDOYA. Like BEDOYA, ROGERS instructed VICTIM-1

that they would need to gather approximately $20,000 in cash to avoid the notoriety and

investigation in Texas VICTIM-1 gather approximately $20,000 in cash from their bank and put

it into a cardboard box. ROGERS then instructed VICTIM-1 to take a picture of the box with the

cash inside prior to wrapping it up. VICTIM-1 sent the photo to ROGERS by text message and

then wrapped the box of cash. ROGERS told VICTIM-1 that an Agent from Washington, D.C.

would pick up the cash from VICTIM-1’s residence. ROGERS notified VICTIM-1 that someone

would be coming from the airport and would be at their residence in a few hours. ROGERS told

VICTIM-1 that the “Agent” would use the passcode “White Elephant” when retrieiving the cash.

       10.     Later on or about January 30, 2025, VICTIM-1 noticed a white colored sedan in

their driveway with two unknown individuals inside. Once VICTIM-1 noticed the white colored

sedan, VICTIM-1 went to the door. An unknown African-American male exited the passenger

seat of the sedan, approached VICTIM-1, and presented VICTIM-1 with the passcode of “White

Elephant,” instructed by ROGERS. VICTIM-1 handed over the package to the unknown

individual who took it to their white colored sedan and drove off.




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       11.     On or about February 2, 2025, VICTIM-1 was contacted by phone again by

ROGERS. ROGERS wanted VICTIM-1 to purchase approximately three or four ten-ounce gold

bars to avoid problems with the Texas allegations. These ten-ounce gold wars were worth

approximately $90,000 in total. ROGERS gave VICTIM-1 the names of several jewelry shops or

pawn shops in their area of residence; however, none had access to that amount of gold.

ROGERS then put VICTIM-1 in contact with Chucks Coin and Gold Exchange located at 120

Main St., Wadsworth, OH 44281. VICTIM-1 placed an order with Chucks Coin and Gold

Exchange for approximately $90,000 worth of gold, which has not yet been delivered.

       12.     On or about February 6, 2025, as part of the scheme, ROGERS telephonically

instructed VICTIM-1 to purchase Apple gift cards. VICTIM-1 drove to local Office Max, Best

Buy and Giant Eagle stores to purchase approximately $2,000 worth of Apple gift cards.

VICTIM-1 obtained three $500 Apple gift cards and ten $50 Apple gift cards. VICTIM-1

returned to their place of residence, scratched the bar codes off the Apple gift cards and sent

pictures to ROGERS of the bar code numbers.

       13.     On or about February 8, 2025, VICTIM-1 reported all the ongoing information to

the Jackson Township Police department.

       14.     On or about February 11, 2025, Affiant and other FBI Agents working with

VICTIM-1 sent a text message to ROGERS indicating that the gold would be ready for pick-up

on February 12, 2025.

       15.     On or about February 12, 2025, VICTIM-1, under my direction, took a

photograph of a fake gold package and sent a message to ROGERS indicating they had the gold

ready for delivery. ROGERS called VICTIM-1 and asked about the three 10oz Gold Bars.

(Agents replaced actual gold bars with 30 1oz Gold Bars). VICTIM-1 explained to ROGERS


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that there must have been a mistake and VICTIM-1 received 30 1oz Gold Bars instead of three

10oz Gold Bars. ROGERS said it was ok and asked VICTIM-1 to wrap the box of 30 1oz Gold

Bars in duct tape and take a picture of the box and themselves. VICTIM-1 did so, ROGERS

called and stated that an Officer of the Treasury Department would be coming to VICTIM-1’s

residence like the previous cash pick-up already conducted. ROGERS also explained that the

Officer would be undercover and not in a police vehicle or in uniform. ROGERS explained to

VICTIM-1 that VICTIM-1 should act like it was an Amazon delivery and hand the package over

to the Officer. VICTIM-1 did not feel comfortable making a drop-off at their residence and

suggested a public place like the gas station near their residence. ROGERS attempted to find an

Officer to make the pick-up and hung up on VICTIM-1. ROGERS followed the conversation

with a text message to VICTIM-1 of a new number (805) 386-9143 at approximately 1pm EST.

       16.    VICTIM-1 called the (805) 386-9143 number, and an unknown male answered

the phone using an alias of DANNY COLE from the Treasury Department. COLE explained to

VICTIM-1 that their case ID number was “TDE880097323829” and if anyone else were to call

to ask them for VICTIM-1’s Case ID number to know they were real. COLE attempted to get an

Officer within two to three hours to VICTIM-1. VICTIM-1 stated to COLE that it would not

work for them, and it would be best if a pick-up could be scheduled for Thursday, February 13,

2025, at approximately 9:00 am. COLE stated that it could be done and they would be having an

Officer come from 1500 Pennsylvania Ave in Washington D.C. VICTIM-1 told COLE that it had

to be done no later than 10 am due to VICTIM-1 having a doctor’s appointment at 10 am

(VICTIM-1 did not actually have a doctor’s s appointment at 10 am and was instructed to

include a time parameter by Affiant). COLE stated that they were a supervisor and would not

have an Officer show up late and the call was terminated. ROGERS contacted VICTIM-1 after



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the call with COLE was terminated. VICTIM-1 asked ROGERS to provide their case ID number,

which ROGERS did, providing the same number given by COLE. ROGERS reiterated that they

could have an Officer present in two to three hours, but VICTIM-1 stated that they already

scheduled a pick-up with COLE at 9 am on February 13, 2025.

       17.     On or about February 13, 2025, Affiant and VICTIM-1 met at the Jackson

Township, Police Department. At approximately 8:00 am the VICTIM-1 sent a text message to

DANNY COLE stating VICTIM-1 was in possession of the gold. COLE then called VICTIM-1

and stated the “officer” was already at a local Circle K gas station located at 6725 Wales Avenue,

Massillon, Ohio. COLE instructed VICTIM-1 to send him a picture of their license plate and

the car, as well as a description of VICTIM-1’s clothing and appearance. COLE refused to

provide information on the description of the officer waiting for VICTIM-1. COLE then

provided VICTIM-1 the password, “White Coffee,” to provide to the officer at the Circle K.

       18.     VICTIM-1 then proceeded to the Circle K and parked at that location. COLE

asked VICTIM-1 if they saw anyone in gas station aisle 11 and then directed VICTIM-1 to walk

over to aisle 12 with the package of gold. VICTIM-1 went to aisle 12 and approached a White

Jeep Grand Cherokee, bearing Louisiana license plate N609313, driven by an Indian male later

identified as DHAVALKUMAR PATEL. The back driver’s side window of the Jeep Grand

Cherokee was rolled down. PATEL provided VICTIM-1 the password “White Coffee,” at which

point VICTIM-1 placed the gold package through the rear window and PATEL reached back to

take the package.

       19.     PATEL then left the Circle K and proceeded to drive toward Interstate 77 heading

north. Affiant and fellow FBI Agents then conducted covert surveillance of PATEL to determine

if he would deliver the package or meet with others. During the surveillance FBI agents



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maintained visual contact of PATEL’s vehicle and he did not stop. Eventually, FBI Agents

enlisted the aid of Ohio State Troopers to conduct a traffic stop of PATEL in the vicinity of

Lindsey, Ohio.

       20.       After the traffic stop, Agents observed PATEL in possession of an Apple iPhone

which was located on the center console. The gold package delivered by VICTIM-1 was also

recovered from the backseat of PATEL’s vehicle. The iPhone was secured, placed in airplane

mode and placed in an FBI evidence bag. Jackson Township Police have requested that PATEL

be arrested for Telecommunication Fraud and he is currently in custody of the Fremont Township

Police based on the above described circumstances.

       21.       PATEL was advised of his Miranda rights and invoked his right to counsel.




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       22.     Based upon the foregoing, I respectfully request that a Warrant be issued

authorizing law enforcement officers to arrest DHAVALKUMAR PATEL for a violation of 18

U.S.C. § 1343 (Wire Fraud) and 18 U.S.C § 1952(a)(1) (Travel Act).

                                                       Respectfully submitted,



                                                       Richard Olasz ,,,
                                                       Special Agent
                                                       Federal Bureau of Investigation

Sworn to via telephone after submission by reliable
electronic means. Fed. R. Crim. P. 4.1 and 41(d)(3).



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CARMEN E. HENDERSON
UNITED STATES MAGISTRATE JUDGE



  February 13, 2025
_________________________________________
DATE




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